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                EXHIBIT 25
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                                                                                  FILED
                                                                             17 DEC 22 PM 12:56

                                                                              KING COUNTY
 1                                                                        SUPERIOR COURT CLERK
                                                                                 E-FILED
 2                                                                     CASE NUMBER: 17-2-07094-7 KNT


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 7
              IN THE SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
 8
      CRISANTO MEDINA, a married man;
 9    and FIRS HOME OWNERS
      ASSOCIATION, a domestic nonprofit            NO. 17-2-07094-7
10    corporation;
                           Petitioners,            FIRST AMENDED
11
                   v.                              LAND USE PETITION
12
      CITY OF SEATAC, a Washington                 (Chapter 36.70C RCW)
13    Municipal Corporation; and FIFE
      MOTEL INC., a domestic corporation,
14    et al.,
                               Respondents.
15

16                                     INTRODUCTION

17         The owner of land underlying a mobile home park can close a mobile home park

18   only by complying with reasonable requirements to protect the property and civil rights
19
     of manufactured home owners and residents. Unlike the typical leased residence,
20
     where the owner owns both the dwelling and the land, a mobile home park the owner
21
     owns the land, but the residents own the manufactured home. Each homeowner leases
22
     the land under and around their respective homes. These dwellings, formerly mobile
23

24
     homes, now manufactured homes, are almost always moved only once from the point

25   of manufacture to be permanently affixed in a leased space or pad in a mobile home

26   park. The homes in mobile home parks are generally the least expensive route to home
                                                                      Barraza Law, PLLC
                                                                   14245-F Ambaum Blvd. SW
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     ownership for low- and moderate-income families. Because mobile home parks are
 1

 2
     affected with the public interest in promoting stable, sustainable diversified housing—a

 3   fundamental human right—mobile home park owners and residents are subject to

 4   reasonable regulation, which include carefully balanced requirements for closing a
 5   mobile home park: At least one-year proper notice of intent to close a mobile home
 6
     park, cooperative formulation and implementation of a relocation plan to successfully
 7
     relocate all residents of the mobile home park before a mobile home park can be closed
 8
     and converted to another land use. This Land Use Petition Act appeal was filed on
 9
     March 24, 2017, asserting pervasive procedural and substantive errors in the Firs
10

11   Mobile Home Park notice of closing and in the design, formulation and approval of the

12   Relocation Plan. Special accommodation and enhanced legal protections are applicable

13   for Firs residents because they are a cohesive community consisting of a vast majority
14   of whom are low income, elderly, disabled, Spanish-speaking and/or vulnerable adults
15
     and innocent children residing in 62 homes. Applicable law not only governs the
16
     Relocation Plan, but also its implementation: This amended petition is filed to review
17
     and enjoin prohibited misconduct unlawfully interfering with successful implementation
18
     of the Relocation Plan by the City of SeaTac and Fife Motel, Inc. dba as The Firs Mobile
19

20   Home Park by and through its manager, Mr. Jong Soo Park, in collaboration with his

21   consultants and attorneys, which occurred and continues to occur after petitioners filed

22   the LUPA appeal herein on March 24, 2017.
23
           Pursuant to Land Use Petition Act, Chapter 36.70C RCW (LUPA), State
24
     Environmental Policy Act, Chapter 43.21C (SEPA), Manufactured/Mobile Home
25
     Landlord-Tenant Act, Chapter 59.20 RCW, SeaTac Municipal Code Chapter 15.465,
26
                                                                      Barraza Law, PLLC
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     and other applicable law, plaintiffs/petitioners Crisanto Medina and the Firs Home
 1

 2
     Owners Association (Firs Homeowners) for their first amended petition, allege and

 3   plead as follows:

 4                                  I. JURISDICTION AND VENUE
 5          1.1     The Court has jurisdiction over this matter under LUPA, SEPA, other
 6
     applicable law, and under the grant of jurisdiction to superior courts through Article IV,
 7
     Section 6 of the Washington State Constitution.
 8
            1.2     Venue properly lies in this court under RCW 4.12.010.
 9
                                               II. PARTIES
10

11          2.1     Name and mailing address of petitioners:

12                  Crisanto Medina
                    20440 International Boulevard, Space 62
13                  SeaTac, WA 98198
14
                    Firs Home Owners Association1
15                  c/o Barraza Law PLLC
                    14245F Ambaum Blvd SW
16                  Burien, WA 98166

17          2.2     Name and mailing address of the attorney for all petitioners is:
18
                    Vicente Omar Barraza
19
                    Barraza Law PLLC
                    14245F Ambaum Blvd SW
20                  Burien, WA 98166

21          2.3     The name and mailing address of the local jurisdiction whose land use
22   decisions are at issue in this case is:
23

24

25   1The Hearing Examiner’s Decision on Reconsideration identified the Firs Home Owners Association as
     “The Firs Mobile Home Park Homeowners Association.”
26
                                                                              Barraza Law, PLLC
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                  City of SeaTac
 1
                  4800 South 188th Street
 2
                  SeaTac, WA 98188-8605

 3         2.4    The City Attorney of the City of SeaTac is:

 4                Mary Mirante Bartolo,
                  4800 South 188th Street
 5                SeaTac, WA 98188-8605
 6
           2.5    Name and mailing address of owner, applicant and, in this amended
 7
     petition, its president (and manager of The Firs Mobile Home Park), Jong Soo Park,
 8
     personally and his marital community, if any:
 9
                  Fife Motel, Inc.
10
                  706 Marine Hills Way
11                Federal Way, WA 98003

12         2.6    Attorney for owner/applicant:

13                Walter H. Olsen, Jr.
                  Olsen Law Firm PLLC
14                205 South Meridian
15
                  Puyallup, WA 98371

16         2.7    Other parties requesting notice:

17                Jan Sylvester
                  12605 – 115th Ave Ct E
18                Puyallup, WA 98374
19
                  Earl Gipson
20                17050 51st Ave S
                  SeaTac, WA 98188-4236
21
                          III. DECISIONS and ACTIONS APPEALED
22
           3.1    Petitioners appeal the      Report and        Decision   and   Decision on
23

24
     Reconsideration issued by the City of SeaTac Hearing Examiner, City of SeaTac case

25   number APL 16-0001. The Hearing Examiner issued the Report and Decision on

26   February 22, 2017 and the Decision on Reconsideration on March 6, 2017 (Land Use
                                                                        Barraza Law, PLLC
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                                                                         Burien, WA 98166
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     Decision). The initial decision of the City of SeaTac was attached as Exhibit A; The
 1

 2
     Hearing Examiner’s Report and Decision issued on February 22, 2017 was attached as

 3   Exhibit B; and the Hearing Examiner’s Decision on Reconsideration on March 6, 2017

 4   was attached as Exhibit C to petitioners’ Land Use Petition herein filed on March 24,
 5   2017 and are incorporated by reference as though fully set forth herein.
 6
           By this amended petition, petitioners further seek review of and petition for
 7
     injunctive and other relief to bar respondents Fife Motel and Mr. Park from engaging in
 8
     unlawful interference with successful implementation of the Relocation Plan, willfully
 9
     violating laws governing operation and closure of mobile home parks, and the Court’s
10

11   May 26, 2017 Order on Initial Hearing and December 15, 2017 Order on Respondent

12   SeaTac’s Motion to Strike by filing and prosecuting separate eviction proceedings for

13   improper and unlawful purposes against Firs residents (as of December 19, 2017,
14   Messrs Park and Olsen have filed unlawful detainer proceedings against the residents
15
     of Firs spaces 4, 8, 14, 17, 21, 28 and 56, stating they will commence such proceedings
16
     against all Firs residents on the sole basis of not vacating by October 31, 2017 in an
17
     unlawful scheme to circumvent the requirements of law. The instant LUPA appeal
18
     challenges the validity of this underlying notice and the formulation and implementation
19

20   of the Relocation Plan. The Court has statutory and inherent authority to restrain and

21   sanction such misconduct.

22                                       IV. STANDING
23
           4.1    Crisanto Medina is aggrieved or adversely affected by the Land Use
24
     Decision, and subsequent actions by Respondents as detailed in the records and files
25
     herein. He rents space 62 in the Firs Mobile Home Park where he resides with his
26
                                                                      Barraza Law, PLLC
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     family in a mobile home they own. The decision of the City of SeaTac to approve
 1

 2
     Respondent Fife Motel Inc.’s Relocation Plan for the Firs Mobile Home Park directly

 3   affects Mr. Medina’s possessory and personal property rights and those of other Firs

 4   residents. Crisanto Medina, acting individually, as President of the Firs Home
 5   Owners Association and on behalf of Firs residents, timely filed an appeal of the
 6
     Director's decision on October 31, 2016 and timely submitted supplemental
 7
     materials that were received on November 18, 2016.
 8
           4.2    Mr. Medina is President of the Firs Home Owners Association Board of
 9
     Directors. The Firs Home Owners Association incorporated as a nonprofit domestic
10

11   corporation on October 22, 2016 under Unified Business Identifier number 604047064.

12   The Firs Home Owners Association members are individual home owners who lease

13   spaces on which their manufactured homes are located who are aggrieved or adversely
14   affected by the Land Use Decision and subsequent misconduct by respondents.
15
           4.3 Petitioners are prejudiced or are likely to be prejudiced by Mr. Jong Park’s
16
     purported decision to change from a mobile home park use to a non-mobile home park
17
     use. Each Firs resident has interests and has and continues to assert those interests
18
     herein that are among those that that would be infringed if the Firs Mobile Home Park
19

20   were to be closed before all Firs residents are relocated to acceptable alternative

21   homes. SeaTac officials and staff was required to consider the Firs residents interests

22   when it made the Land Use Decision and thereafter implementing the Relocation Plan.
23
     A judgment in favor of petitioners would substantially eliminate or redress the prejudice
24
     caused or likely to be caused by the Land Use Decision. Petitioners have exhausted
25
     administrative remedies to the extent required by law.
26
                                                                       Barraza Law, PLLC
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                                   V. STATEMENT OF ERRORS
 1

 2
           5.1    The City of SeaTac failed or refused to comply with applicable provisions

 3   of law, including but not limited to LUPA, SEPA, Manufactured/Mobile Home Landlord-

 4   Tenant Act Chapter 59.20 RCW, SeaTac Municipal Code Chapter 15.465, and
 5   applicable constitutional rights. The Hearing Examiner errored as follows:
 6
                  a.        Finding no. 2: The Examiner failed to follow prescribed
 7
           procedures, disregarded duties or abused discretion to the extent that the
 8
           Examiner erroneously concluded as a matter of law that the City of SeaTac
 9
           responsible official properly issued a threshold Determination of
10

11         Nonsignificance following review pursuant to the State Environmental Policy

12         Act (SEPA) on July 22, 2016. SeaTac Municipal Code 15.465.600(H)(1)(b)

13         requires Fife Motel Inc. to conduct an analysis of environmental conditions of
14         the park. According to the Hearing Examiner:
15
           “Residents of the mobile home park presented compelling testimony regarding
16
           the hardships involved in relocation of their homes to include, finding a vacant
17
           space in a mobile home park, disruption of their children’s education in having
18
           to change schools, loss of community support, and loss of convenient transit
19

20         service.“ Facts in Support of this Assignment of Error:

21                     i.   The State Environmental Policy Act (“SEPA”) determination of

22                          non-significance issued by the City of SeaTac on July 22, 2016
23
                            concluded that the Mobile Home Park Relocation Plan for the Firs
24
                            Mobile Home Park “will facilitate future development of the site
25
                            with projects consistent with the City’s Comprehensive Plan.” In
26
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                         other words, the SEPA concluded that the Relocation Plan
 1

 2
                         submitted by Fife Motel Inc. for the Firs MHP demonstrated

 3                       consistency with the City’s Comprehensive Plan. However, the

 4                       Relocation Plan actually contravenes the City’s Comprehensive
 5                       Plan, Housing and Human Services Element, which commits the
 6
                         City to increasing housing options
 7
                   ii.   The SEPA approved the initial relocation plan, not the Revised
 8
                         Relocation Plan approved October 17, 2016. The SEPA must be
 9
                         redone to reflect the Revised Relocation Plan.
10

11                iii.   Moreover, the City’s Comprehensive Plan commits it to

12                       supporting the maintenance of SeaTac’s existing mobile home

13                       parks as a source of affordable housing. The approval of the
14                       SEPA and initial and Revised Relocation Plan violates the City’s
15
                         own Comprehensive Plan.
16
                  iv.    None of the SEPA materials were provided in Spanish to apprise
17
                         the majority of the Firs residents for whom Spanish is their
18
                         primary language of the SEPA process, its relationship to the
19

20                       relocation plan, and their right to appeal.

21                 v.    The failure to ensure language access for the purpose of

22                       gathering demographic data essential to the SEPA determination
23
                         and the Relocation Plan’s purported analysis of the impacts of
24
                         park closure and mitigation options related thereto constitutes
25

26
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                           disparate treatment on the basis of national origin in violation of
 1

 2
                           state law and the federal Fair Housing Act.

 3                vi.      Discriminatory conduct justifies overturning land use decisions.

 4                         Lutheran Day Care v. Snohomish County, 119 Wn.2d 91, 829
 5                         P.2d 746 (1992).
 6
                 b.        Finding no. 2: The Examiner failed to follow prescribed
 7
           procedures, disregarded duties or abused discretion to the extent that the
 8
           Examiner erroneously concluded as a matter of law that no SEPA appeals were
 9
           timely filed. Facts in Support of this Assignment of Error:
10

11                    i.   SMC 15.465 et. seq. inextricably links the SEPA and Relocation

12                         Plan requirements. A deficient relocation checklist and SEPA

13                         determination prejudiced the approval of the relocation plan and
14                         falls within the duty of City staff, and independently it is the duty of
15
                           the Hearing Examiner, to remedy a deficient SEPA analysis and
16
                           determination, to mitigate all adverse environmental and human
17
                           impacts prior to or as part of the review of the proposed Firs
18
                           Mobile Home Park closing and relocation plan for Firs residents.
19

20                 ii.     Spanish is the primary language of most Firs residents. They

21                         were precluded from reviewing, providing comments, participating

22                         in and appealing deficiencies in the City’s SEPA assessments
23
                           and determinations—because SeaTac failed or refused to provide
24
                           required notice, for example, of SEPA appeal rights to Firs in
25
                           Spanish.
26
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                   iii.     The respondents’ failure to provide language access for the
 1

 2
                            purpose of gathering demographic data essential to the SEPA

 3                          determination and the Relocation Plan’s purported analysis of the

 4                          impacts of park closure and mitigation options related thereto
 5                          constitutes disparate treatment on the basis of national origin in
 6
                            violation of state law and the federal Fair Housing Act.
 7
                   iv.      Discriminatory conduct justifies overturning land use decisions.
 8
                            Lutheran Day Care v. Snohomish County, 119 Wn.2d 91, 829
 9
                            P.2d 746 (1992).
10

11                c.        Finding no. 4: The Examiner failed to follow prescribed

12         procedures, disregarded duties or abused discretion to the extent that the

13         Examiner erroneously concluded as a matter of law that the City has
14         established by a preponderance of the evidence that The Firs Mobile Home
15
           Park Relocation Plan satisfies all criteria set forth in SMC 15.465.600(H)(1)(a-f).
16
           Facts in Support of this assignment of Error:
17
                       i.   SeaTac Municipal Code 15.465.600(H)(1)(a) requires Fife Motel
18
                            Inc. to prepare an inventory of park tenants and their mobile homes
19

20                          to provide data for the SEPA checklist and SEPA analysis of the

21                          environmental impacts of mobile home park closure. The

22                          inventory also establishes a basis for identifying
23
                            relocation/mitigation options. The inventory “shall” include tenants’
24
                            age, income, and number of years in the park; the age and
25
                            conditions of tenants’ mobile homes; and the cost of pad rental,
26
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                          utility fees, personal utilities, insurance, personal property taxes,
 1

 2
                          and “mobile home security interests”. The inventory form must

 3                        clearly advise tenants that the disclosure is voluntary and that the

 4                        purpose is to assess the impact of the proposed closure and
 5                        applicability of low-income housing assistance programs.
 6
                   ii.    The mobile home relocation plan must include an analysis of the
 7
                          inventory, environmental conditions, relocation options, relocation
 8
                          choices, anticipated timing, and coordination plans or actions. The
 9
                          Relocation Plan is fundamentally flawed by the failure of the City to
10

11                        require effective communication with the majority of the adult

12                        residents for whom Spanish is their primary language.

13                 iii.   Mr. Park’s failure to provide certified interpreters and translators
14                        prevented the owner from effectively communicating the
15
                          inadequate relocation options to the Spanish-language dominant
16
                          residents, impaired the gathering of accurate information about
17
                          relocation preferences, fundamentally compromised the SEPA
18
                          process, deprived the majority of adult residents information
19

20                        regarding the closure timetable, prevented effective coordination

21                        and doomed the Relocation Plan.

22               d.       Finding no. 5: The Examiner failed to follow prescribed
23
           procedures, disregarded duties or abused discretion to the extent that the
24
           Examiner erroneously concluded as a matter of law that the Examiner had no
25
           duty to independently consider the environmental and human impact of the
26
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           proposed closure and Relocation Plan. Facts in Support of this Assignment
 1

 2
           of Error:

 3                     i.   The failure to provide required disclosures and to translate the

 4                          collection instrument (essential to a proper SEPA determination)
 5                          into Spanish prevented the collection of complete and accurate
 6
                            data essential to conduct the analysis required by SMC
 7
                            15.465.600H.1.a.
 8
                    ii.     The failure to ensure language access for the purpose of
 9
                            gathering demographic data essential to the analysis of the
10

11                          impacts of park closure and mitigation options related thereto

12                          constitutes disparate treatment on the basis of national origin in

13                          violation of state law and the federal Fair Housing Act.
14                 iii.     SMC 15.465.600H.2.e. tasks City staff with identifying proposed
15
                            Relocation Plan deficiencies and requiring the owner to remedy
16
                            them. Because City staff failed to adequately review and analyze
17
                            Mr. Parks Relocation Plan, it approved an unworkable Relocation
18
                            Plan, as demonstrated by the fact that about 62 Firs households
19

20                          currently have no viable dwelling to re-locate to.

21                e.        Finding no. 11: The Examiner failed to follow prescribed

22         procedures, disregarded duties or abused discretion to the extent that the
23
           Examiner erroneously concluded as a matter of law that the Examiner has no
24
           authority to require a park owner to “start over” and provide all notices, letters,
25

26
                                                                          Barraza Law, PLLC
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           and plans to the tenants in Spanish as neither the RCW nor the SMC require
 1

 2
           such. Facts in Support of this Assignment of Error:

 3                 i.    Throughout the relocation planning process, Mr. Park failed to

 4                       provide certified interpreters and translators. In those instances
 5                       when the landlord utilized interpreters or translators, those
 6
                         interpreters and translators failed to attest to the accuracy of their
 7
                         interpretations and translations. For example, the June 11, 2016
 8
                         meeting hosted by the landlord to discuss relocation utilized the
 9
                         services of a young woman with limited Spanish language
10

11                       proficiency.

12                 ii.   The young woman apparently hired by the landlord, aside from

13                       lacking any known certification, did not adequately translate the
14                       verbal and/or written information conveyed by the landlord and
15
                         the relocation team hired by the landlord.
16
                  iii.   The landlord provided the residents with a copy of the Relocation
17
                         Plan in English. Although the landlord also provided a version of
18
                         the Plan translated into Spanish, the Spanish-language
19

20                       translation lacks the completeness, specificity, and precision of

21                       the English-language version.

22                iv.    The formatting of the Spanish-language version of the Plan is
23
                         inferior to that of the English-language Plan, including lacking the
24
                         legibility of the English-language Plan. Significantly, the Spanish-
25
                         language Plan lacks the full content provided by the English-
26
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                         language Plan because many of the pages are oriented
 1

 2
                         incorrectly and cut off the translated text.

 3                 v.    The landlord translated only some of the informational notices

 4                       served on the residents between May and October of 2016.
 5                       Specifically, the letters dated May 8, 2016 and July 7, 2016 were
 6
                         not translated into Spanish. Petitioners assert that selective—and
 7
                         thereby incomplete and misleading—translation of some but not
 8
                         all relocation-related documents degraded the required relocation
 9
                         process to ineffectiveness, requiring a re-set of date from which
10

11                       the one-year closure time runs or re-starting the process over to

12                       ensure that the affected families received adequate information

13                       throughout the relocation process.
14                vi.    The relocation plan indicates that the landlord provides a hotline
15
                         for the affected residents. Again, Alma Raymundo does not
16
                         appear to possess any certifications to translate or interpret and
17
                         any assistance provided by her constitutes disparate treatment.
18
                  vii.   Many of the appendices to the Plan lack Spanish language
19

20                       translation.

21               viii.   To the extent that the City of SeaTac paid for the translation of the

22                       Relocation Plan, the City must start over by translating it correctly
23
                         and into a legible format. SMC 15.465.600H.2.e. requires the City
24
                         to review the Plan, notify the owner in writing of deficiencies, and
25
                         require the owner to correct all of the identified deficiencies. The
26
                                                                           Barraza Law, PLLC
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                           identification and correction of deficiencies provides the City
 1

 2
                           extensive discretion to ensure that the owner addresses all

 3                         relevant issues related to the relocation.

 4                ix.      A Memorandum dated September 15, 2016 from the U.S.
 5                         Department of Housing and Urban Development titled Office of
 6
                           General Counsel Guidance on Fair Housing Act Protections for
 7
                           Persons with Limited English Proficiency. According to the
 8
                           memorandum “[b]ecause a person’s primary language generally
 9
                           derives from his or her national origin, singling out persons for
10

11                         disparate treatment because they speak a certain language is

12                         typically national origin discrimination.” Here, the City required the

13                         owner to translate the Relocation Plan, but not most of the
14                         exhibits. The failure of the owner and City to translate all of the
15
                           content into Spanish, especially that involving limitations on
16
                           allowable relocation expenses, constitutes nothing less than
17
                           disparate treatment on the basis of national origin in violation of
18
                           state law and the federal Fair Housing Act.
19

20                    x.   Discriminatory conduct justifies overturning land use decisions.

21                         See Lutheran Day Care v. Snohomish County, 119 Wn.2d 91,

22                         829 P.2d 746 (1992).
23
                 f.        Finding No. 12.a. The Examiner failed to follow prescribed
24
           procedures, disregarded duties or abused discretion to the extent that the
25
           Examiner erroneously concluded as a matter of law that the inventory meets
26
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           the requirements of Section SMC 15.465.600(H)(1)(a). Facts in Support of
 1

 2
           this Assignment of Error:

 3                 i.    Respondent Fife Motel Inc. failed to comply with SMC 15.465.600

 4                       H.1.a. when they sought information to prepare the required
 5                       inventory because they failed to disclose the purpose of the
 6
                         inventory pursuant to SMC 15.465.600 H.1.a.
 7
                   ii.   The information collection instrument utilized to collect the
 8
                         inventory failed to provide the proper disclosures in English.
 9
                  iii.   The SeaTac Municipal Code requires the inventory as part of the
10

11                       relocation plan and to inform the SEPA determinations, yet

12                       neither contains any substantive analysis of “the impact of the

13                       park closure, and to establish a basis for identifying
14                       relocation/mitigation options.”
15
                  iv.    The Plan asserts that the landlord’s relocation agent met with all
16
                         of the families individually. Public testimony established that the
17
                         relocation representative met with each family; therefore the
18
                         inventory and demographic data provided by the owner is
19

20                       misleading and inaccurate, and the analysis required by SMC

21                       15.465.600H.1.a fatally defective.

22                 v.    Testimony from park residents illuminated the owner’s failure to
23
                         effectively meet with individual tenants with respect to the
24
                         preparation of an effective and informative inventory.
25

26
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                  vi.      The failure to ensure language access for the purpose of
 1

 2
                           gathering demographic data essential to the SEPA determination

 3                         and the Relocation Plan’s purported analysis of the impacts of

 4                         park closure and mitigation options related thereto constitutes
 5                         nothing less than disparate treatment on the basis of national
 6
                           origin in violation of state law and the federal Fair Housing Act.
 7
                  vii.     Discriminatory conduct justifies overturning land use decisions.
 8
                           See Lutheran Day Care v. Snohomish County, 119 Wn.2d 91,
 9
                           829 P.2d 746 (1992).
10

11               g.        Finding No. 12.b. The Examiner failed to follow prescribed

12         procedures, disregarded duties or abused discretion to the extent that the

13         Examiner erroneously concluded as a matter of law that the owner did not have
14         to provide the checklist and other environmental documents in Spanish. Facts in
15
           Support of of this Assignment of Error:
16
                      i.   Title VI of the Civil Rights Act of 1964 obligates the City of SeaTac
17
                           to provide Spanish language interpretation and translation. To-date,
18
                           none of the City’s correspondence or meetings were translated or
19

20                         interpreted.

21                 ii.     The City itself failed to comply with Title VI of the Civil Rights Act of

22                         1964 because it neglected to provide the Relocation Approval letter
23
                           in Spanish.
24
                   iii.    The City itself failed to comply with Title VI of the Civil Rights Act of
25
                           1964 because it neglected to provide SEPA related materials
26
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                         pertinent to the approval of the Revised Relocation Plan in Spanish
 1

 2
                         to the residents.

 3                iv.    The City itself failed to comply with Title VI of the Civil Rights Act of

 4                       1964 because it refused to provide Spanish-language interpreters
 5                       at City Council meetings attended by the Firs MHP residents.
 6
                   v.    Both the owner and the City failed to provide residents with
 7
                         information in Spanish about their right to appeal the City’s
 8
                         approval of the Revised Relocation Plan.
 9
                  vi.    Despite the City’s duty to host a relocation meeting as required by
10

11                       SMC 15.465.600H.2.b, it delegated the responsibility to the owner.

12                       The City itself failed to comply with Title VI of the Civil Rights Act of

13                       1964 because the park owner failed to provide effective language
14                       translation at the meeting required by SMC 15.465.600H.2.b which
15
                         occurred on or about June 11, 2016. See facts challenging Finding
16
                         No. 11.
17
                  vii.   As noted above, to the extent that the City of SeaTac paid for the
18
                         translation of the Relocation Plan, the City must start over by
19

20                       translating it correctly and into a legible format. As noted, supra,

21                       SMC 15.465.600H.2.e. requires the City to review the Plan, notify

22                       the owner in writing of deficiencies, and require the owner to correct
23
                         all of the identified deficiencies. The identification and correction of
24
                         deficiencies provides the City extensive discretion to ensure that
25
                         the owner address all relevant issues related to the relocation.
26
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                         Indeed, the City exercised this discretion to require a translation of
 1

 2
                         the Relocation Plan although the SMC lacks an express translation

 3                       requirement.

 4               viii.   It was well within the discretion of the City to require the owner to
 5                       provide Spanish-language access to the Firs families at every stage
 6
                         of the relocation process and in all of the owner’s written and verbal
 7
                         communications with the families.
 8
                  ix.    With respect to the owner of the park, HUD recognizes that failing
 9
                         to explain untranslated documents or translating them inaccurately
10

11                       may constitute discrimination. See Memorandum dated September

12                       15, 2016 from the U.S. Department of Housing and Urban

13                       Development titled Office of General Counsel Guidance on Fair
14                       Housing Act Protections for Persons with Limited English
15
                         Proficiency. Petitioners assert that incomplete and inaccurate
16
                         language translation throughout the relocation process constitutes
17
                         disparate treatment in violation of state and federal civil rights laws.
18
                         The City’s refusal to ensure consistent language access for the Firs
19

20                       families perpetuates discriminatory housing practices.

21                 x.    Discriminatory conduct justifies overturning land use decisions. See

22                       Lutheran Day Care v. Snohomish County, 119 Wn.2d 91, 829 P.2d
23
                         746 (1992).
24
                 h.      Finding No. 12.c. and 14.G. The Examiner failed to follow
25
           prescribed procedures, disregarded duties or abused discretion to the extent that
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           the Examiner erroneously concluded as a matter of law that the owner provided
 1

 2
           an adequate list of relocation options. SeaTac Municipal Code

 3         15.465.600(H)(1)(c) requires Fife Motel Inc. to provide affected residents a list of

 4         relocation options. Facts in Support of this Error:
 5                  i.    The list of relocation options considered pursuant to SMC
 6
                          15.465.600 H.1.c. was incomplete because it failed to take into
 7
                          account the market’s handling of housing applications from persons
 8
                          of Hispanic descent who in some cases may lack a government-
 9
                          issued social security number.
10

11                 ii.    In addition, some of the communities listed have rents far in excess

12                        of the $590/month currently being paid by Firs’ homeowners. For

13                        instance, the rents at Kloshe Illahee in Federal Way are over
14                        $900/month. Just listing manufactured housing communities
15
                          without giving any information about the number of possible
16
                          vacancies they have, or the lot rent they charge, renders the list
17
                          worthless.
18
                   iii.   In the list of communities, only Bonel will provide guaranteed
19

20                        security of tenure since it is owned by a non-profit. The landlord

21                        failed to make it clear to the residents that moving into any of the

22                        other communities could result in the homeowners getting a 12-
23
                          month notice of closure the very next day.
24
                   iv.    In addition, why does the Relocation Plan provide the HUD income
25
                          guidelines for Thurston, Kitsap, and Whatcom counties? It is highly
26
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                            unlikely that any of the homeowners from the Firs would choose to
 1

 2
                            move that far away from employment, schools, family and friends.

 3                    v.    It is axiomatic that irrelevant, inaccurate, or incomplete information

 4                          is useless. The purpose of SMC 15.465.600H.2.e and other
 5                          mandatory duties under RCW 59.20 requiring the owner and the
 6
                            City to analyze the impacts of the park’s relocation is to provide
 7
                            meaningful and useful information to Firs residents, other agencies,
 8
                            non-profit organizations, lenders and investors to design and
 9
                            execute the Re-location Plan to successfully relocate all Firs
10

11                          residents prior to Park closure.

12               i.         Finding No. 12.d. The Examiner failed to follow prescribed

13               procedures, disregarded duties or abused discretion to the extent that the
14               Examiner erroneously concluded as a matter of law that the owner
15
                 complied with SMC 15.465.600(H)(1)(d) by gathering and coordinating
16
                 tenant relocation preferences. SeaTac Municipal Code
17
                 15.465.600(H)(1)(d) requires Fife Motel Inc. to gather and then coordinate
18
                 each tenant’s housing relocation preferences with others in the park.
19

20               Facts in Support of Error:

21                    i.    SMC 15.465.600 H.1.d. required the Fife Motel Inc. to obtain

22                          accurate information about resident relocation preferences.
23
                            Testimony at the public hearing established that the residents’
24
                            relocation preferences were neither solicited nor addressed in the
25
                      ii.   Relocation Plan.
26
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                 j.         Finding No. 12.f. The Examiner failed to follow prescribed
 1

 2
           procedures, disregarded duties or abused discretion to the extent that the

 3         Examiner erroneously concluded as a matter of law that the Relocation Plan

 4         adequately addresses the impacts of park closure on the tenants. Facts in
 5         Support of Error:
 6
                      i.    Testimony at the Public Hearing confirmed that many of the families
 7
                            living in the different homes are related and share child care and
 8
                            other household functions. The forced relocation of the Firs families
 9
                            will shatter these family networks that these low-income families
10

11                          rely on to manage their lives. The City should have required the

12                          owner to obtain data on the familial status, a protected category

13                          under the federal Fair Housing Act and the Washington Law
14                          Against Discrimination pursuant to the City’s discretion under SMC
15
                            15.465.600H.2.e. to properly gauge the impact of the relocation on
16
                            these families and the community.
17
                      ii.   Despite the requirement contained at SMC 15.465H.1.a. to analyze
18
                            the impact of the park closure, and to establish a basis for
19

20                          identifying relocation/mitigation options, no such analysis is

21                          contained in the Relocation Plan or the SEPA documents. Given

22                          that SMC 15.465.600H.2.e. requires the City to review the Plan,
23
                            notify the owner in writing of deficiencies, and require the owner to
24
                            correct all of the identified deficiencies, the lack of analysis of
25

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                          Comprehensive Plan impacts in the Plan constitutes a deficiency
 1

 2
                          within the discretion of the City to address.

 3                 iii.   The Relocation Plan contravenes the City of SeaTac’s

 4                        Comprehensive Plan which commits the City of SeaTac to “support
 5                        the maintenance of SeaTac’s existing mobile home parks as a
 6
                          source of affordable housing.” Comprehensive Plan Goal 3.8.
 7
                  iv.     The City committed itself to minimizing the impacts of mobile home
 8
                          relocation on low- and moderate-income residents. Comprehensive
 9
                          Plan Goal 3.8.
10

11                 v.     The City’s disregard of its own Comprehensive Plan goals

12                        throughout the formulation of the Relocation Plan constitutes a

13                        deficiency requiring reversal of approval of the Relocation Plan
14                        contrary to SMC 15.465.600H.2.e.
15
                  vi.     The City’s complete and total disregard for its own Comprehensive
16
                          Plan goals throughout the formulation of the Relocation Plan gives
17
                          rise to an appearance of prejudgment in favor of approval
18
                          notwithstanding the implications for approval on the City’s own
19

20                        Comprehensive Plan goals. Such prejudgment also contravenes

21                        state law with respect to the Growth Management Act.

22               k.       Finding No. 14.A. The Examiner failed to follow prescribed
23
           procedures, disregarded duties or abused discretion to the extent that the
24
           Examiner erroneously concluded as a matter of law that the erroneous legal
25

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           citations contained in the City’s notice of approval letter constituted a mere
 1

 2
           scrivener’s error. Facts in Support of Error:

 3                  i.    The Notice of Approval dated October 17, 2016 cites a municipal

 4                        code that does not exist.
 5                 ii.    The failure of the City to properly cite its own code constitutes more
 6
                          than a mere “scrivener’s error” because the incorrect citation: (1)
 7
                          misleads the public about the law underlying the decision to
 8
                          approve the relocation plan; and (2) betrays the Director’s
 9
                          prejudgment of the proposed relocation plan.
10

11                 iii.   Determinations of a public agency require the appearance of

12                        fairness and fairness in fact. “The United States Supreme Court

13                        has stated that the matter of procedural due process requires the
14                        appearance of fairness and fairness in fact. Quasi-judicial
15
                          administrative decisions will be reversed upon a showing of the
16
                          probability or appearance of conflict or prejudgment.” Westside
17
                          Hilltop Survival Committee v. King County, 96 Wn.2d 171, 181, 634
18
                          P.2d 862 (1981) (internal citations omitted).
19

20                 iv.    The public and the families residing at the Firs Mobile Home Park

21                        have a fundamental right to accurate information about the

22                        decisions made by the City of SeaTac. The City’s misstatement of
23
                          its own law misleads the public about the legal basis of the City’s
24
                          decision.
25

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                         v.   Moreover, the misstatement of law gives rise to an appearance of
 1

 2
                              prejudgment. The owner of the park submitted three iterations of

 3                            the Relocation Plan on May 27, 2016, August 30, 2016, and

 4                            October 7, 2016. Each iteration misstates the law and the City’s
 5                            approval correspondence dated October 17, 2016 adopts the
 6
                              misstatement of law. The City’s adoption of the owner’s
 7
                              misstatement of law gives rise to an inference that the City failed to
 8
                              act independently and neutrally and betrays the Director’s
 9
                              prejudgment of the relocation plan.
10

11                  l.        Finding No. 14.C. The Examiner failed to follow prescribed

12         procedures, disregarded duties or abused discretion to the extent that the

13         Examiner erroneously concluded as a matter of law that the owner provided
14         adequate service of the final, approved Relocation Plan. Facts in Support of
15
           Error:
16
                         i.   Page 6, paragraph 3, of the Relocation Plan states that “when the
17
                              official 12-month notice of park closure is provided to all residents,
18
                              it will be sent by registered mail and also hand-delivered to all
19

20                            residents” (emphasis added). Upon information and belief, the

21                            owner neglected to (1) hand-deliver the Relocation Plan to all

22                            residents; or (2) properly serve the Plan in accordance with the
23
                              requirements of RCW 59.21.030. Testimony at the public hearing
24
                              confirmed hand-delivery to all residents did not occur.
25

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                   ii.   The park owner claims that the Plan “will be hand-delivered to all
 1

 2
                         residents of the park.” (emphasis added) See Relocation Report

 3                       and Plan, p. 7. The declaration provided by the owner confirms that

 4                       this did not occur.
 5                iii.   Since June of 2016, there have been a number of break-ins in the
 6
                         mail room and many residents have lost their mail. SeaTac Police
 7
                         report C16058190 details damages to the mail boxes reported on
 8
                         November 14, 2016 and report C16057407 details damages to the
 9
                         mail boxes reported on November 9, 2016.
10

11                iv.    The Relocation Plan must be served with the notice of park closure.

12                       State law requires that notice of park closure required by RCW

13                       59.20.080 to be given to “all tenants in writing.” RCW
14                       59.21.030(1). RCW 59.20.300 in turn requires the Notice of park
15
                         closure to be served on “each tenant” “by certified mail or personal
16
                         delivery.” RCW 59.20.300(1)(a) (emphasis added). The declaration
17
                         provided by the owner confirms that this did not occur.
18
                   v.    The City’s position that service of the approved relocation plan falls
19

20                       outside the scope of the administrative appeal conflicts with SMC

21                       15.465.600 section H.2.k. which provides that “[o]nce the relocation

22                       plan has been deemed by the Director to be satisfactorily
23
                         implemented, the City shall issue a certificate of satisfactory
24
                         completion.” SMC 15.465.600H.2.k. Moreover, SMC
25

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                                15.465.600H.2.j. requires the owner to provide monthly relocation
 1

 2
                                reports to the City.

 3                 vi.          The approval of the relocation plan extends to its implementation.

 4                              The monthly report and certification requirements confirm that post-
 5                              approval events are an integral part of the relocation plan such that
 6
                                a failure to serve the plan falls within the scope of this appeal.
 7
                  vii.          The City has a duty to make sure that the owner does what the plan
 8
                                says the owner will do, especially when it involves service of
 9
                                process of a statutorily required document that upends the lives of
10

11                              all of the residents of Firs Mobile Home Park.

12               m.             Finding No. 14. E. The Examiner failed to follow prescribed

13         procedures, disregarded duties or abused discretion to the extent that the
14         Examiner erroneously concluded as a matter of law that the owner properly
15
           prepared the required inventory. Facts in Support of Error:
16
                           i.   See analysis related to Finding No. 14.f.
17
                 n.             Finding No. 14. F. The Examiner failed to follow prescribed
18
           procedures, disregarded duties or abused discretion to the extent that the
19

20         Examiner erroneously concluded as a matter of law that the owner and City had

21         no duty to ensure the translation of the inventory form into Spanish. Facts in

22         Support of Error:
23
                      i.        “An inventory of park tenants and their mobile homes shall be
24
                                prepared in a format established by the Department (hereinafter
25
                                referred to as the “department”). The purpose of the inventory is
26
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                         to provide data for the State Environmental Policy Act (Chapter
 1

 2
                         43.21C RCW) checklist (hereinafter referred to as the “SEPA

 3                       checklist”), which will analyze the impact of the park closure,

 4                       and to establish a basis for identifying relocation/mitigation
 5                       options.” SMC 15.465.600H.1.a. (emphasis added).
 6
                   ii.   Respondent Fife Motel Inc. failed to comply with SMC 15.465.600
 7
                         H.1.a. when they sought information to prepare the required
 8
                         inventory because they failed to disclose the purpose of the
 9
                         inventory pursuant to SMC 15.465.600 H.1.a.
10

11                iii.   The SeaTac Municipal Code requires the inventory as part of the

12                       relocation plan and to inform the SEPA, yet neither contains any

13                       substantive analysis whatsoever of “the impact of the park closure,
14                       and to establish a basis for identifying relocation/mitigation options.”
15
                  iv.    The Plan asserts that the landlord’s relocation agent met with all of
16
                         the families individually related to the inventory. Public testimony
17
                         disputed the Plan’s assertion that the relocation representative met
18
                         with each family and the inventory and demographic data provided
19

20                       by the owner is compromised. The failure to provide required

21                       disclosures and to translate the collection instrument into Spanish

22                       prevented the collection of complete and accurate data essential to
23
                         conduct the analysis required by SMC 15.465.600H.1.a because
24
                         the majority of the adult residents of the park are Spanish-language
25
                         dominant.
26
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                   v.      Public testimony from park residents before the hearing examiner
 1

 2
                           illuminated the owner’s failure to effectively meet with individual

 3                         tenants with respect to the preparation of an effective and

 4                         informative inventory.
 5                vi.      The failure to ensure language access for the purpose of gathering
 6
                           demographic data essential to the SEPA determination and the
 7
                           Relocation Plan’s purported analysis of the impacts of park closure
 8
                           and mitigation options related thereto constitutes nothing less than
 9
                           disparate treatment on the basis of national origin in violation of
10

11                         state law and the federal Fair Housing Act.

12                vii.     See analysis in paragraph “e..” supra related to Finding no. 11.

13               viii.     Discriminatory conduct justifies overturning land use decisions. See
14                         Lutheran Day Care v. Snohomish County, 119 Wn.2d 91, 829 P.2d
15
                           746 (1992).
16
                 o.        Finding No. 14.H. The Examiner failed to follow prescribed
17
           procedures, disregarded duties or abused discretion to the extent that the
18
           Examiner erroneously concluded as a matter of law that the owner and City had
19

20         no duty to ensure the SEPA analyze the impact of the park closure on the net

21         worth of affected families. Facts in Support of Error:

22                    i.   SMC 15.465.600H.2.e. provides the City staff broad discretion to
23
                           identify deficiencies in the formulation and content of the Relocation
24
                           Plan.
25

26
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                   ii.      The Firs families, whose homes are no longer mobile, are more
 1

 2
                            than tenants. Washington’s Constitution and laws generally afford

 3                          and favor strong property rights protections for tenants, especially

 4                          for manufactured home owners. Washington’s
 5                          Manufactured/mobile home landlord-tenant act Chapter 59.20 RCW
 6
                            affords manufactured home owners a presumption of one-year
 7
                            leases while Chapter 59.21 RCW provides with relocation
 8
                            assistance.
 9
                   iii.     Washington law at Chapter 6.13 RCW confers homestead
10

11                          protections to owners of manufactured homes.

12                 iv.      The Hearing Examiner perpetuated the City’s failure to exercise the

13                          discretion to require the park owner to analyze the impact of the
14                          relocation on the financial well-being of the residents of the Firs
15
                            Mobile Home Park.
16
                  p.        Finding No. 14.I. The Examiner failed to follow prescribed
17
           procedures, disregarded duties or abused discretion to the extent that the
18
           Examiner erroneously concluded as a matter of law that the owner and the City
19

20         had no duty to translate all relocation related materials into Spanish. Facts in

21         Support of Assignment of Error:

22                     i.   Neither the Plan nor the exhibits thereto provide any information in
23
                            Spanish regarding limitations on allowable reimbursements.
24
                   ii.      The majority of the Exhibits to the Relocation Plan were not
25
                            translated into Spanish.
26
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                   iii.    A Memorandum dated September 15, 2016 from the U.S.
 1

 2
                           Department of Housing and Urban Development titled Office of

 3                         General Counsel Guidance on Fair Housing Act Protections for

 4                         Persons with Limited English Proficiency. According to the
 5                         memorandum “[b]ecause a person’s primary language generally
 6
                           derives from his or her national origin, singling out persons for
 7
                           disparate treatment because they speak a certain language is
 8
                           typically national origin discrimination.” Here, the City required the
 9
                           owner to translate the Relocation Plan, but not all of the exhibits.
10

11                         The failure of the owner and City to translate all of the content into

12                         Spanish, especially that involving limitations on allowable relocation

13                         expenses, constitutes nothing less than disparate treatment on the
14                         basis of national origin in violation of state law and the federal Fair
15
                           Housing Act.
16
                  iv.      See also the facts related to the challenge of Fining No. 12.b.
17
                 q.        Finding No. 14.J. The Examiner failed to follow prescribed
18
           procedures, disregarded duties or abused discretion to the extent that the
19

20         Examiner erroneously concluded as a matter of law that the owner and the City

21         had no duty to analyze the impacts of the park closure on Madrona Elementary

22         School. Facts in Support of Error:
23
                      i.   The Madrona Elementary School receives federal Title I funds in
24
                           part because of the diverse population of persons residing at the
25
                           Firs Mobile Home Park. Indeed, 53.7% of Madrona Elementary
26
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                            students are Hispanic/Latino compared to 37.9% of the district
 1

 2
                            overall.

 3                    ii.   The Firs families consistently expressed a preference to stay in-

 4                          place or live nearby so that their children can continue attending
 5                          Madrona Elementary. This information appears nowhere in the
 6
                            Relocation Plan although the families articulated this concern
 7
                            throughout the process and in Council meetings.
 8
                   iii.     The Hearing Examiner’s refusal to reject the Relocation Plan for its
 9
                            want of analysis with respect to the impacts of the relocation on the
10

11                          education preferences of the families constitutes a deficiency

12                          worthy of correction prior to approval of the Relocation Plan.

13               r.         Finding No. 14.K. The Examiner failed to follow prescribed
14         procedures, disregarded duties or abused discretion to the extent that the
15
           Examiner erroneously concluded as a matter of law that he lacked jurisdiction to
16
           consider civil rights related issues. Facts in Support of Error:
17
                      i.    Section 15.465.600(H)(2)(a-k) of the SeaTac Municipal Code sets
18
                            forth the “Required Process” related to the Relocation Plan.
19

20                          SeaTac Municipal Code Section 15.465.600(H)(2)(b) required the

21                          City of SeaTac to schedule a meeting with tenants. Mr. Pilcher

22                          testified that he did not schedule the meeting, but attended a
23
                            meeting that the mobile home park owner scheduled and which
24
                            occurred on July 11, 2016 meeting. Mr. Pilcher testified that the
25
                            owner sent an English-language letter dated July 7, 2016 inviting
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                             them to attend the July 11, 2016 meeting which Mr. Pilcher
 1

 2
                             attended. Mr. Pilcher confirmed that: (1) a Spanish language

 3                           interpreter was present at the meeting, but the City did not pay for

 4                           the interpreter; and (2) the July 7 letter was not translated and the
 5                           City did not require its translation.
 6
                       ii.   The City must comply with Title VI of the Civil Rights Act of 1964
 7
                             obligates the City of SeaTac to translate documents and provide
 8
                             interpreters.
 9
                   iii.      Discriminatory conduct justifies overturning land use decisions. See
10

11                           Lutheran Day Care v. Snohomish County, 119 Wn.2d 91, 829 P.2d

12                           746 (1992).

13                s.         Conclusion 2. The Examiner failed to follow prescribed
14         procedures, disregarded duties or abused discretion to the extent that the
15
           Examiner erroneously concluded as a matter of law that the Director’s decision to
16
           approve the Mobile Home Park Relocation Plan for The Firs Mobile Home Park
17
           issued on October 17, 2016, was legally correct and satisfied all criteria set forth
18
           in SMC 15.465.600(H).
19

20                t.         Decision on Reconsideration. The Hearing Examiner failed to

21         follow prescribed procedures, disregarded duties or abused discretion to the

22         extent that the Examiner denied Petitioners’ Motion for Reconsideration. The
23
           record for the Public Hearing closed on February 2, 2017 and the City of SeaTac
24
           Hearing Examiner issued a Report and Decision on February 22, 2017. The
25
           Petitioners moved for reconsideration on March 1, 2017 and requested that the
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           Hearing Examiner vacate his decision and remand the matter back to the City to
 1

 2
           reconvene a new Public Hearing because he failed to issue his decision in

 3         accordance with SeaTac Municipal Code 1.20.140 which mandates that the

 4         Hearing Examiner “shall” render a written recommendation or decision within ten
 5         days of the hearing. Here, while the record closed on February 2, 2017, the
 6
           Hearing Examiner did not issue a decision until February 22, 2017. The Hearing
 7
           Examiner denied the Petitioners Motion for Reconsideration on March 6, 2017.
 8
                  u.      Closing Brief. The Hearing Examiner failed to follow prescribed
 9
           procedures, disregarded duties or abused discretion to the extent that the
10

11         Examiner refused to consider Petitioners’ arguments related to unconstitutional

12         gifts provided by the City of SeaTac to the Applicant/Respondent Fife Motel Inc.

13         Mr. Pilcher “testified that translation (of the Relocation Plan) is not required by
14         the code, but he voluntarily asked the owner to translate the plan and the owner
15
           complied. Staff asked for the owner’s agreement for the translation. Upon
16
           receipt the City hired a third party to verify the accuracy of the translation. The
17
           City then opted to have the plan retranslated more accurately. The City’s
18
           translation is the version in the final plan.”
19

20                The City of SeaTac’s financial assistance to Fife Motel Inc. reflects bias or

21         favoritism and violates the Washington Constitution which holds that “[n]o county,

22         city, town or other municipal corporation shall hereafter give any money, or
23
           property, or loan its money, or credit to or in aid of any individual, association,
24
           company or corporation…” Const. art. VIII, § 7.
25

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           5.2 Misconduct by respondent Fife Motel, Inc., dba Firs Mobile Home Park,
 1

 2
     and the president of Fife Motel and manager of The Firs Mobile Home Park, Jong Soo

 3   Park and his agents, consultants and attorneys:

 4         5.2.1 Petitioners re-allege and incorporate by reference the facts set forth in each
 5         of the preceding paragraphs of this Petition and the facts set forth in the Dec 11,
 6
           2017 declarations of Helena Benedict, Stephanie Ruiz and Omar Barraza (filed
 7
           and served in Firs eviction case no. 17-2-30223-6 Kent).
 8
           5.2.2 The Due Process Clause of the Fifth Amendment prohibits the government
 9
           from depriving individuals of their liberty interests, property rights and civil rights
10

11         without due process of law, and from denying equal protection under the law.

12         Where state or local legislatures granted statutory rights and authorized

13         procedures applicable for protection of vulnerable adults and innocent children,
14         prohibiting age, sex and national-origin discrimination, protecting disabled
15
           persons, to notices of closure of mobile home parks, formulation and
16
           implementation of the Relocation Plans, minimum substantive and procedural
17
           due process rights attach to those statutory and administrative rights. Through
18
           their actions above, Messrs. Park and his consultants and attorneys have violated
19

20         petitioners’ constitutional rights.

21         5.2.3 In addition to previously noted breaches, Mr. Park failed to comply with his

22         duties under RCW 59.20.130, RCW 59.20.134 requiring written receipts, RCW
23
           59.20.135 maintenance of common structures, RCW 59.20.150 failure to deliver
24
           notices to last known address of tenant. RCW 59.20.020 imposes a duty of good
25
           faith “as a condition precedent to the exercise of a right or remedy under this
26
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           chapter.” Mr. Park breached his duties to Firs residents, as detailed above,
 1

 2
           thereby precluding him from enforcing Firs Mobile Home Park closure.

 3         5.2.4 The intent of mobile home park closure and relocation requirements is to

 4         permit closure for the purpose of allowing more intensive development that
 5         increases housing, business, employment or urban amenities—and generates
 6
           more governmental revenues and tax receipts—to build a more vibrant, attractive
 7
           community, in this instance, the City of SeaTac. Mr. Park has neither disclosed
 8
           nor filed any development applications nor provided any evidence he has done
 9
           anything toward planning, designing, engineering, and financing a hotel or motel
10

11         for the Firs property. Indeed, Walt Olson asserted in open court on December

12         13, 2017 at the unlawful detainer show-cause hearing to evict Firs space 17

13         resident Stephanie Ruiz, that Mr. Park could evict all Firs residents, regardless
14         of whether any feasible housing alternatives were available to relocate to, seize
15
           the Firs residents’ property, destroy some 62 manufactured homes, even if Mr.
16
           Park just wanted to fence the property and watch weeds grow. Mr. Park’s staying
17
           eviction of all Firs residents as here requested would not materially prejudice Mr.
18
           Park’s nor SeaTac’s rights, but failure to provide such relief to petitioners would
19

20         unconstitutionally infringe Firs Mobile Home Park residents fundamental property

21         and civil rights. Mr. Park’s evictions under the circumstances is impermissible.

22         See, Yee v. City of Escondido, 503 U.S. 519 (1992).
23
                                  VI. REQUEST FOR RELIEF
24
           Wherefore, Petitioners respectfully request the Court to:
25

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            6.1.   Stay and suspend all action to implement the Land Use Decision here
 1

 2
     under review pursuant to RCW 36.70C.100;

 3          6.2.   Reverse SeaTac’s October 17, 2016 decision approving the applicant’s

 4   relocation plan;
 5          6.3.   Reverse the Hearing Examiner’s February 22, 2017 Land Use Decision;
 6
            6.4.   Reverse the Hearing Examiner’s March 6, 2017 Land Use Decision on
 7
     Reconsideration;
 8
            6.5.   Enter an Order reversing the City of SeaTac’s approval of the Relocation
 9
     Plan submitted by Fife Motel Inc. which it approved on October 17, 2016.
10

11          6.6    Enter an Order staying the closure of the mobile home park still technically

12   set for October 31, 2017 (but for the Court’s May 26, 2017, Order on Initial Hearing, as

13   clarified by the Court’s December 15, Order on Respondent SeaTac’s Motion to Strike)
14   to a date following the final determination of this LUPA appeal, or when all homeowners
15
     and residents of The Firs Mobile Home Park are successfully relocated to new housing,
16
     whichever date is later.
17
            6.7 Pursuant to RCW 36.70C.100 or other applicable law, without security, A)
18
     enjoin and restrain harassment by respondents and B) stay eviction proceedings
19

20   against individual Firs Mobile Home Park households, including enforcement of all writs

21   of restitution, or orders providing for or allowing removal of Firs residents’ property, and

22   moving, damaging or destroying or interfering with the use and enjoyment of Firs
23
     homes—to mitigate or prevent further irreparable harm and unconstitutional deprivation
24
     of property rights—of all Firs Mobile Home Park residents, pending final determination
25

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     of this LUPA appeal, or when all homeowners and residents of The Firs Mobile Home
 1

 2
     Park are successfully relocated to new housing, whichever date is later.

 3          6.8    Impose sanctions against Mr. Park and/or Mr. Olsen, in favor of petitioners

 4   for wrongful harassment, threats and intimidation suffered by petitioners.
 5          6.9 Award petitioners their actual reasonable attorney fees, costs and expenses
 6
     incurred in pursuing this petition; and
 7
            6.10   Award such additional and further relief as the Court finds just and
 8
     equitable.
 9
            Respectfully submitted this 22nd day of December 2017.
10

11   BARRAZA LAW PLLC                                THE PUBLIC ADVOCATE
                                                     A NONPROFIT PROFESSIONAL SERVICES CORPORATION

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                                  DECLARATION OF SERVICE
 1
            The undersigned declares:
 2
           I am over the age of majority, am competent to testify herein and do so on
 3   personal knowledge.
 4          On the date entered below I electronically served at their respective email
     address the foregoing petitioners’ first amended petition to the following attorneys of
 5   record:
 6                 Vincente Omar Barraza              co-counsel for defendants
                   Barraza Law PLLC                   omar@barrazalaw.com
 7
                   14245 Ambaum Blvd SW
 8                 Burien, WA 98166

 9                 Walter H. Olsen, Jr.               Attorney for plaintiff Fife Motel, Inc.
                   Olsen Law Firm PLLC                walt@olsenlawfirm.com
10                 205 South Meridian
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11

12                 Mary Mirante Bartolo               mmbartolo@ci.seatac.wa.us
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13                 SeaTac Office of City Attorney     Attorneys for City of SeaTac
                   4800 South 188th Street
14                 SeaTac, WA 98188-8605
15          I certify under penalties of perjury under the laws of the State of Washington that
     the foregoing is true and correct.
16

17          Signed on December 22, 2017, at Seattle, WA.

18                                             The Public Advocate, n.c.

19
                                               Henry E. Lippek
20                                             Henry E. Lippek, WSBA No. 2793,
                                               Co-counsel for Firs Mobile Home Park
21                                             unlawful detainer defendants
22

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